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LAW OFFICES OF
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Of Counsel

Sent via ECF only

September 20, 2019

Hon. Colleen McMahon

Chief Judge

United States District Court

Southern District of New York

Daniel Patrick Moynihan U.S. Courthouse
500 Pearl St.

New York, NY 10007-1312

Re: Cummings v. The City of New York, et al
Case No.: 19-cv-07723-CM

Plaintiff's Opposition/Responsive Papers Due: 09/20/2019 |
Dear Judge McMahon:

My office represents the plaintiff, Patricia Cummings, in connection with the above-referenced
action.

I am writing to respectfully request an additional one (1) week extension of time, to and
including September 27, 2019, for the plaintiff to file and serve opposition papers to the multiple
motions to dismiss made by the defendants. As you know, there are currently four (4) motions to
dismiss the plaintiffs complaint made on behalf of:

(1) the “City” defendants (consisting of The City of New York, New York City
Department of Education, City of New York Office of Special Investigations,
NYC Mayor Bill DeBlasio, Giulia Cox, Courtney Ware, Councilman Jumaane D.
Williams and Councilman Daniel Dromm);

(2) defendants Daily News, L.P. (sued herein as New York Daily News) and Ben
Chapman;

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Fellow, American Board of Criminal Lawyers
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United States District Court - Southern District of New York

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(3) defendants Dr. Andre Perry and The Hechinger Report a/k/a Hechinger
Institute On Education And The Media; and

(4) defendant Lenard Larry McKelvey a/k/a Charlamagne Tha God.

As there are numerous defendants, the plaintiff must address and oppose the specific allegations
made by each defendant in support of his/her/their motion to dismiss. This is a very intricate case
involving violations of the plaintiff's civil rights and libelous and slanderous accusations made
against her. None of the defendants have raised any objection to plaintiff’s prior request for an
extension of time.

The defendants have also requested an additional extension of time to file reply papers from
October 9, 2019 to and including October 23, 2019, due to the Jewish holiday and one defense
counsel being on trial, which extension was granted by this Court.

Should the Court grant the plaintiff an additional one (1) week extension of time to submit
responsive/opposition papers, this still gives the defendants more than three (3) weeks to file
their reply papers. Therefore, there will be no prejudice to the defendants if plaintiff is granted
this additional one (1) week extension to September 27, 2019, and the briefing schedule can
remain the same. The respective law firms representing the defendants also have a far larger staff
that counsel for the plaintiff. In the event the defendants request more time to file Reply papers if
the Court grants the plaintiff one (1) additional week, the plaintiff has no objection to any extra
time the defendants may need.

My firm has had and continues to have congested court appearances calendar and depositions.
My Associate, Lucia Ciaravino, Esq., who is assisting me in this matter, has been on, among
other things, a continued trial, in the Nassau County Family Court, in the matter of Alisa Jones v.
Michael Jones, File No. 607346, Docket No(s): F-06794-18/18C and F-06794-18/19D; and then
on protracted Court conferences and/or mediation in the matters of Estate of John C. Ringen,
deceased, in the Nassau County Surrogate’s Court before Hon. Margaret C. Reilly; Calixte v.
Calixte (a contested partition action) in the Supreme Court of Suffolk County located in
Riverhead, New York, before the Hon. John Iliou, Brunder v. Brunder, a contested matrimonial
action, in the Supreme Court - Suffolk County, before Hon. Matthew M. Deedy.

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Based on all of the foregoing, I respectfully request that the time for the plaintiff to submit
opposition/responsive papers to the multiple motions to dismiss be extended for one (1)
additional week, to and including September 27, 2019, with the defendants time to submit reply
papers remaining at October 23, 2019.

There will be no prejudice to any of the defendants if this extension of time is granted to the
plaintiff. However, the penalty to the plaintiff will be unduly harsh if the extension is denied.

Thanking the Court for its consideration of this request, I am
Respectfully,
Thomas F. Liotti (TL 4471)

joo
cc: Counsel for Appearing Defendants (via ECF)

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